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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 DANIEL MARTIN- BROWN GEORGE,

       Plaintiff,                                     Case No: 1:17-cv-03483-SEB-TAB
 v.
                                                      Honorable Judge Sarah E. Barker
 CREST FINANCIAL, INC.,

      Defendant.


                       ORDER OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff, DANIEL MARTIN- BROWN GEORGE (“Plaintiff”), by and through his

attorneys, SULAIMAN LAW GROUP, LTD., having filed with this Court his Agreed Stipulation

of Dismissal without Prejudice and the Court having reviewed same, now finds that this matter

should be dismissed.

       IT IS THEREFORE ORDERED by this Court that the above cause of action is hereby

dismissed, without prejudice.

DISTRIBUTION:

                1/18/2018                       _______________________________
 Dated: ________________________
                                                  SARAH EVANS BARKER, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana




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